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                                   3                                 UNITED STATES DISTRICT COURT

                                   4                                NORTHERN DISTRICT OF CALIFORNIA

                                   5                                         SAN JOSE DIVISION

                                   6

                                   7    ARISTA NETWORKS, INC.,                              Case No. 16-cv-00923-BLF
                                   8                   Plaintiff,
                                                                                            NOTICE RE JUDGE’S LAW CLERK
                                   9            v.                                          ON WORKING ON THIS CASE
                                  10    CISCO SYSTEMS, INC.,
                                  11                   Defendant.

                                  12
Northern District of California
 United States District Court




                                  13          Cisco Systems, Inc.’s Answer raises an affirmative defense based on alleged infringement

                                  14   of patents asserted in ITC Inv. Nos. 337-TA-944 and 337-TA-945. The Court has become aware

                                  15   that Fish & Richardson P.C. has represented Arista Networks, Inc. in those ITC proceedings. One

                                  16   of the undersigned judge’s law clerk was a technology specialist/patent agent (March 2012 ~ July

                                  17   2014) and a summer associate (May 2016 ~ July 2016) at Fish & Richardson P.C. During those

                                  18   times, the law clerk did not work on any matter involving Arista Networks, Inc. or Cisco Systems,

                                  19   Inc. This is satisfactory to the judge for the law clerk to work on this case. But out of an

                                  20   abundance of caution, this notice invites counsel to advise if they see any problem and to do so by

                                  21   January 22, 2018.

                                  22          IT IS SO ORDERED.

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                                  24   Dated: January 17, 2018

                                  25                                                    ______________________________________
                                                                                        BETH LABSON FREEMAN
                                  26                                                    United States District Judge
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